        IN THE UNITED STATES DISTRICT COURT FOR THE
                 SOUTHERN DISTRICT OF OHIO
                    CINCINNATI DIVISION

THE KROGER CO.,              :
                             :
                             :   Case No. 1:24-cv-00438-DRC
         Plaintiff,
                             :
                             :   District Judge Douglas R. Cole
   v.                        :
                             :
THE FEDERAL TRADE            :
COMMISSION, et al.,          :
                             :
                             :
         Defendants.         :
                             :



BRIEF OF AMICI CURIAE OHIO, ALABAMA, GEORGIA, IOWA,
 LOUISIANA, MONTANA, NEBRASKA, OKLAHOMA, SOUTH
 CAROLINA, TENNESSEE, TEXAS, AND WEST VIRGINIA IN
            SUPPORT OF THE PLAINTIFFS
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         INTRODUCTION AND STATEMENT OF AMICI INTERESTS

       The Constitution divides authority between the legislative, executive, and ju-

dicial branches of government, but ordinary Americans might be forgiven for thinking

that many facets of the federal bureaucracy seem to exist outside of the traditional

three branches of government. “The collection of agencies housed outside the tradi-

tional executive departments,” the Chief Justice once wrote in dissent, “is routinely

described as the ‘headless fourth branch of government,’ reflecting not only the scope

of their authority but their practical independence.” City of Arlington, Tex. v. FCC,

569 U.S. 290, 314 (2013) (Roberts, C.J., dissenting) (quotation omitted). But there is

no actual fourth branch of government. Indeed, the Supreme Court has explained

that Administrative Law Judges who work for agencies like the Federal Communica-

tions Commission or the Federal Trade Commission might look like federal judges in

many respects, especially since they “conduct adjudications”—but it has still empha-

sized that “under our constitutional structure” such Administrative Law Judges do

not exercise the judicial power, and instead exercise “the executive Power” of Article

II. Id. at 304 n.4.

       This case arises from an administrative proceeding that defies the separation

of powers. Kroger, a prominent grocery-store chain, is being subjected to proceedings

before an Administrative Law Judge of an executive branch agency, the Federal

Trade Commission. Although the presiding ALJ is part of an executive branch agency

that must stand in the chain of command from the People to the President, Congress

has legislated to insulate that officer from that chain of command. Specifically, Con-

gress has prohibited the ALJ’s removal except by the Attorney General “for good


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cause established and determined by the Merit Systems Protection Board.” 5 U.S.C.

§7521(a). And both Merit Board members and Commissioners, in turn, may be re-

moved by the President only “for inefficiency, neglect of duty, or malfeasance in of-

fice.” Id. §1202(d); 15 U.S.C. §41. The Commission’s ALJs are therefore triply insu-

lated from presidential removal, and thus sit outside the three-branch structure like

part of a “‘headless fourth branch of government.’” City of Arlington, 569 U.S. at 314

(Roberts, C.J., dissenting).

      This scheme violates Article II of the United States Constitution. “The Presi-

dent’s power to remove”—“and thus supervise”—inferior officers must be “unre-

stricted,” with two narrow exceptions: Congress may impose modest removal protec-

tions for principal officers of multimember commissions that do not wield significant

executive authority, and for those inferior executive branch officials “with limited du-

ties and no policymaking or administrative authority.” Seila Law LLC v. CFPB, 591

U.S. 197, 204, 218 (2020). The ALJs who work for executive agencies like the Com-

mission, however, fall outside that narrow exception. They hold continuing offices

with wide-ranging duties, not temporary or minor positions. See, e.g., Lucia v. SEC,

585 U.S. 237, 241–42, 247–49 (2018). And even if one layer of protection were per-

missible here, two layers is not. “[S]uch multilevel protection … is contrary to Article

II’s vesting of the executive power in the President.” Free Enter. Fund v. Pub. Co.

Acct. Oversight Bd., 561 U.S. 477, 484 (2010). The Fifth Circuit held the Securities

and Exchange Commission’s analogous ALJ scheme invalid on precisely this ground.




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See Jarkesy v. SEC, 34 F.4th 446, 463–65 (5th Cir. 2022), aff’d on other grounds, 144

S. Ct. 2117 (2024). This Court should do the same.

      As the chief law enforcement officers of the States of Ohio, Alabama, Georgia,

Iowa, Louisiana, Montana, Nebraska, Oklahoma, South Carolina, Tennessee, Texas,

and West Virginia, the undersigned Attorneys General have a strong interest in pro-

moting the separation of powers among the federal government’s three branches,

which in turn, reinforces the vertical division of authority between the states and the

federal government. This interest in defending structural, constitutional boundaries

includes guarding against federal agency actions—like subjecting parties to adjudi-

cations before insulated ALJs—that stray beyond such boundaries.

                                   BACKGROUND

I.    The Commission’s ALJs hear the agency’s administrative actions.

      The Federal Trade Commission is an executive branch agency composed of five

Commissioners appointed by the President, by and with the advice and consent of the

Senate. See 15 U.S.C. §41. The President may remove Commissioners only for “in-

efficiency, neglect of duty, or malfeasance in office.” Id. The agency has sweeping

statutory authority. It may bring administrative proceedings against entities subject

to its jurisdiction for allegedly engaging in unfair methods of competition as well as

for alleged violations of the antitrust laws. See id. §45. It may also seek permanent

injunctive relief against unfair methods of competition in federal court. See id. §53(b);

see also AMG Cap. Mgmt., LLC v. FTC, 593 U.S. 67, 71–74 (2021).

      The Commission’s administrative proceedings are first heard by an ALJ. See

16 C.F.R. §3.41. The Commission has delegated authority to ALJs to take evidence


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and make initial findings of fact and conclusions of law. See 5 U.S.C. §§556(b)(3),

557(b); 16 C.F.R. §0.14. An ALJ’s broad powers in shaping the evidentiary record and

conducting the hearing are akin to those of a federal district judge. See generally 16

C.F.R. Part 3; In re Axon Enter., Inc., 2020 WL 5406806, at *3 (F.T.C. Sept. 3, 2020)

(an ALJ’s “position is ‘functionally comparable to that of a judge’”) (quoting Butz v.

Economou, 438 U.S. 478, 513 (1978)); cf. Lucia, 585 U.S. at 247–51 (similarly describ-

ing the analogous powers of SEC ALJs). ALJs, for example, “issue subpoenas,” “re-

ceive evidence,” “conduct … hearings,” “administer oaths,” “rule upon … motions,”

and “regulate the course of the hearings and the conduct of the parties and their

counsel.” 16 C.F.R. §3.42(c). And ALJs “make and file recommended decisions,”

which are reviewed by the full Commission. Id. §§3.42(c)(9), 3.54(a). ALJs “have all

powers necessary” to “dispos[e] of” the proceedings over which they preside. Id.

§3.42(c).

       The Department of Justice has noted, more generally, that ALJs “determine,

on a case-by-case basis, the policy of an executive branch agency” through adjudica-

tions. Sec’y of Educ. Review of ALJ Decisions, 15 Op. O.L.C. 8, 15 (1991). In adjudi-

cations, ALJs “fill statutory and regulatory interstices comprehensively with [their]

own policy judgments.” Id. at 14. These adjudications, as with general rulemaking,

also allow the agencies to formulate prospective policies that “govern future conduct.”

NLRB v. Bell Aerospace Co. Div. of Textron, Inc., 416 U.S. 267, 292 (1974).

       The Merits System Protection Board, another agency, may remove an ALJ

“only for good cause.” 5 U.S.C. §7521(a).       “Good cause” means that ALJs cannot be




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removed for “reasons which constitute an improper interference with the ALJ’s per-

formance of his quasi-judicial functions.” Brennan v. Dep’t of Health & Human Servs.,

787 F.2d 1559, 1563 (Fed. Cir. 1986). So an agency cannot remove an ALJ just be-

cause it disagrees with her decisions. See id. But removal is allowed for failure to

follow instructions “unrelated to ... decisional independence.” Abrams v. Soc. Sec.

Admin., 703 F.3d 538, 545 (Fed. Cir. 2012). The Merits Board, in turn “is composed

of 3 members appointed by the President, by and with the advice and consent of the

Senate, not more than 2 of whom may be adherents of the same political party.” 5

U.S.C. §1201. The President may remove members of the Merits Board “only for

inefficiency, neglect of duty, or malfeasance in office.” Id. §1202(d).

II.   The Commission filed an administrative action to enjoin Kroger’s
      merger.

      Kroger is a food retail company incorporated in Ohio, with its principal place

of business in Cincinnati. Compl. ¶5, The Kroger Co. v. FTC, No. 24-cv-00438 (S.D.

Ohio). The company describes its business strategy as competing “hard on price” by

constantly investing in “process changes and other efficiencies.” Id. at ¶26. But

Kroger faces competition from massive rivals with similar strategies, including

Walmart, Amazon, and Costco. Id. at ¶30. Seeking to better compete, Kroger entered

into an agreement to acquire Albertsons Companies, Inc. (“Albertsons”), another

American food retail company. Id. at ¶¶29–30.

      The Commission filed an in-house administrative complaint against Kroger

and Albertsons to prohibit Kroger and Albertson from “any transaction” that “com-

bines their businesses, except as may be approved by the Commission.” Id. at ¶¶35–



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37; In re Kroger, Dkt. No. 9428 (FTC). The Commission alleged that the merger vio-

lates section 5 of the Federal Trade Commission Act, which bars “[u]nfair methods of

competition in or affecting commerce,” 15 U.S.C. §45(a)(1), as well as section 7 of the

Clayton Act, which bars any acquisition, the effect of which “may be substantially to

lessen competition, or to tend to create a monopoly,” id. §18. The Commission also

filed suit in federal court to enjoin preliminarily the acquisition pending resolution of

the administrative proceeding. See Compl. ¶39 (referencing FTC v. The Kroger Co.,

No. 24-cv-00347 (D. Or.)).

      Kroger now seeks to enjoin the administrative proceeding in this court. It ar-

gues that the ALJ presiding over the administrative proceeding—an executive of-

ficer—unconstitutionally enjoys two layers of protection against removal by the Pres-

ident, in violation of Article II. Compl. ¶¶69–70. Kroger also argues that the Com-

mission’s administrative proceeding violates Article III by adjudicating Kroger’s pri-

vate rights in the Executive branch, rather than in federal court. Id. at ¶¶73–75.

The first issue—whether the Commission’s ALJs are unconstitutionally insulated

from presidential removal and thus are unconstitutional officers—concerns the

proper separation of the powers of the federal government, and is of tremendous in-

terest to the States.

                                     ARGUMENT

      A party seeking a preliminary injunction must establish (1) that it is likely to

succeed on the merits; (2) that it will be irreparably harmed absent the injunction;

(3) that the injunction will not injure other parties; and (4) that the public interest




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favors an injunction. A. Philip Randolph Inst. v. Husted, 907 F.3d 913, 917 (6th Cir.

2018). The States write to emphasize the strength of Kroger’s merits argument.

I.    The ALJ overseeing Kroger’s adjudication enjoys unconstitutional
      removal protection.

      A. Article II imposes a general rule that the President must have
         unrestricted power to remove executive officers.

      The Constitution vests the President “alone” with the “entire” power to execute

federal law. Seila Law, 591 U.S. at 213. And Article II entrusts the President with

a corresponding duty to “take Care that the Laws be faithfully executed.” Id. (quoting

U.S. Const. art. II, §3). To fulfill this awesome duty, the President must be able to

supervise his subordinates. Id. Supervision, in turn, requires “the ability to remove

executive officials,” because it is only the person who “can remove” such officials that

subordinate officials will “obey” when “perform[ing] … their functions.” Id. at 213–

14 (alterations accepted, quotation omitted). Because the President must be “fully

accountable for discharging his own responsibilities” through “a clear and effective

chain of command,” Free Enter. Fund, 561 U.S. at 498, 514, the “general rule” is that

the President has “unrestricted removal power” over executive officers, Seila Law,

591 U.S. at 215.

      These principles are not new. The Constitution has been understood this way

“[s]ince 1789.” Id. (quotation omitted). And the First Congress settled that the Pres-

ident must have the “power to remove—and thus supervise—those who wield execu-

tive power on his behalf” when it created the first cabinet departments. Id. at 204.

As the Supreme Court later confirmed, the President’s “control of those executing the




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laws” includes the “essential” power of “removal.” Myers v. United States, 272 U.S.

52, 117, 163–64 (1926).

      B. The Supreme Court has permitted only two exceptions to Article
         II’s requirement of unrestricted removal.

      There are “only two exceptions to the President’s unrestricted removal power,”

Seila Law, 591 U.S. at 204, and they are narrow.

      First, for principal officers whose direct superior is the President, Congress can

limit the President’s removal power only for those who head “multimember expert

agencies that do not wield substantial executive power.” Id. at 218. In Humphrey’s

Executor v. United States, the Court considered the constitutionality of the relatively

young five-member Federal Trade Commission. 295 U.S. 602, 626 (1935). The Su-

preme Court viewed the FTC as a nonpartisan “administrative body” that exercised

“quasi-judicial and quasi-legislative” functions but did not exercise any part of the

“executive power.” Id. at 624, 628. On the unstated premise that Congress could

create administrative agencies that were not fully within any of the Constitution’s

three branches, the Court held that Congress could forbid the President from remov-

ing Commissioners absent “inefficiency, neglect of duty, or malfeasance in office.” See

id. at 620, 628; see also Wiener v. United States, 357 U.S. 349, 350, 354–56 (1958).

While Humphrey’s Executor has never been formally overruled, the Court has re-

cently cast doubt over its continuing vitality. See Seila Law, 591 U.S. at 216 n.2.

More recently, the Supreme Court has invalidated comparable restrictions on re-

moval power—involving single-head agencies wielding substantial executive power.




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Id. at 205 (Consumer Financial Protection Bureau); Collins v. Yellen, 594 U.S. 220,

251 (2021) (Federal Housing Finance Agency).

      Second, as to inferior officers who are “directed and supervised at some level

by” principal officers, United States v. Arthrex, Inc., 594 U.S. 1, 13 (2021), Congress

can limit the President’s removal power only for those “with limited duties and no

policymaking or administrative authority,” Seila Law, 591 U.S. at 218. For example,

the Supreme Court upheld a prohibition on the Secretary of the Navy’s ability to dis-

charge a naval cadet-engineer during peacetime without first finding misconduct or

convening a court-martial. United States v. Perkins, 116 U.S. 483 (1886). And the

Supreme Court sustained a “good cause” restriction on the Attorney General’s ability

to remove an independent counsel tasked with the narrow purview of investigating

and prosecuting certain senior officials for specific crimes. Morrison v. Olson, 487

U.S. 654, 691–92 (1988). This “nebulous” holding, however, has since been cast into

doubt. NLRB v. SW Gen., Inc., 580 U.S. 288, 315 n.4 (2017) (Thomas, J., concurring)

(suggesting Edmond v. United States, 520 U.S. 651 (1997) implicitly overruled Mor-

rison’s “nebulous approach”); see Morrison, 487 U.S. at 724 n.4 (Scalia, J., dissenting)

(explaining “cause” would “include, of course, the failure to accept supervision”); Free

Enter. Fund, 561 U.S. at 510–11 (resolving an Appointments Clause challenge under

Edmond without discussing or citing Morrison); Arthrex, 594 U.S. at 23 (holding that

officers whose decisions are not reviewed by a principal officers are principle officers

themselves); Akhil Reed Amar, Intratextualism, 112 Harv. L. Rev. 747, 810–11 (1999)




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(arguing that Morrison provided “a doctrinal test good for one day only” and that in

Edmond the Supreme Court “apparently abandoned Morrison’s ad hoc test”).

      In addition to the limited scope of these offices, the removal restrictions were

relatively modest. In Morrison, the Attorney General could remove the counsel for

misconduct. 487 U.S. at 692. And in Perkins, although the Court did not opine on

the standard for misconduct (because the cadet-engineer had not engaged in any

wrongdoing), insubordination by military officers would be punishable by removal.

Cf. Free Enter. Fund, 561 U.S. at 507.

      By contrast, the Supreme Court has rejected as unconstitutional more strin-

gent removal restrictions for inferior officers. Id. at 495–96. In Free Enterprise Fund,

the statutory scheme shielded inferior officers from removal via two layers of re-

strictions: Public Company Accounting Oversight Board (PCAOB) members could be

removed by the SEC only for cause, and the President could remove SEC Commis-

sioners only for cause. Id. at 486–87. This “added layer of tenure protection,” the

Court held, withdrew “from the President any decision” on whether board members

could be removed, creating “a Board that is not accountable to the President, and a

President who is not responsible for the Board.” Id. at 495–96.

      C. The Commission’s ALJs fit neither of the exceptions to Article II’s
         requirement of unrestricted removal.

      The ALJs in question here are executive branch officers. See City of Arlington,

569 U.S. at 305 n.4. They possess continuing positions and exercise significant, im-

portant discretion in overseeing adversarial proceedings. See Lucia, 585 U.S. at 247–

51 (so holding for SEC ALJs); Axon, 2020 WL 5406806, at *3 n.7 (suggesting that



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Lucia applies to the Federal Trade Commission’s ALJs). ALJs, for example, “issue

subpoenas,” “receive evidence,” “conduct … hearings,” “administer oaths,” “rule upon

… motions,” and “regulate the course of the hearings and the conduct of the parties

and their counsel.” 16 C.F.R. §3.42(c). Although ALJs “make and file recommended

decisions,” which the full Commission reviews, id. §§3.42(c)(9), 3.54(a), ALJ’s power

to shape an evidentiary record and conduct a hearing parallel those of federal district

judges. Axon, 2020 WL 5406806, at *3 (an ALJ’s “position is ‘functionally comparable

to that of a judge’”) (quoting Butz v. Economou, 438 U.S. 478, 513 (1978)). After all,

ALJs “have all powers necessary” to “dispos[e] of” the proceedings over which they

preside. 16 C.F.R. §3.42(c). Thus, they must be subject to unrestricted Presidential

removal power unless they fit either of the exceptions to the rule of at-will removal.

      These ALJs do not fit either of the exceptions to the constitutional rule of at-

will removal. Consider first the Humphrey’s Executor exception for principal officers.

That exception does not apply here because the ALJs are inferior officers subject to

supervision by “superior executive officer[s]” (i.e., Commissioners) who may generally

“review” their actions. See Arthrex, 594 U.S. at 14; see also 16 C.F.R. §§3.22, 3.52–

54. But the Commission’s ALJs have more than “limited duties” and have “policy-

making or administrative authority.” Seila Law, 591 U.S. at 218. This means that

the ALJs are not analogous to the inferior officers who received removal protections

in Morrison and Perkins.

      Consider these distinctions in greater depth. First, the Commission’s ALJs’

duties are not limited in the same durational or substantive manner as the officers’




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duties in Morrison and Perkins. The Commission’s ALJs serve indefinitely, unlike

the independent counsel’s temporary mandate in Morrison to fulfill a “single task.”

487 U.S. at 672. And their rulings affect ordinary people, whereas in Morrison the

counsel’s power was “trained inward to high-ranking Governmental actors identified

by others.” Seila Law, 591 U.S. at 219. Likewise, Perkins involved a cadet primarily

responsible for carrying out superiors’ instructions. See 116 U.S. at 483. But the

Commission’s ALJs wield powerful “tools” in conducting “adversarial hearings” and

exercise “significant discretion” when they preside. Lucia, 585 U.S. at 248 (quotation

omitted).

      Second, the Commission’s ALJs have policymaking authority, unlike the infe-

rior officers in Morrison and Perkins. ALJs, the Department of Justice has noted

more generally, “determine, on a case-by-case basis, the policy of an executive branch

agency.” Sec’y of Educ. Review of ALJ Decisions, 15 Op. O.L.C. at 15. And in adju-

dications, ALJs “fill statutory and regulatory interstices comprehensively with [their]

own policy judgments.” Id. at 14. These adjudications, as with general rulemaking,

also allow the agencies to formulate prospective policies that “govern future conduct.”

Bell Aerospace Co., 416 U.S. at 292. And while the Commission recently modified its

rules of practice so that ALJs render a “recommended decision” that parties may ap-

peal instead of an “initial decision” that the Commissioners automatically review,

ALJs still have powers akin to federal district judges. Axon, 2020 WL 5406806, at *3.

      The Commission’s ALJs also possess administrative authority. By “critically

shap[ing] the administrative record,” they exercise “significant authority” under




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federal law. Lucia, 585 U.S. at 245, 248 (quotation omitted). Because ALJ’s do not

fall within the Perkins/Morrison exception, Article II's “general rule” of “unrestricted

removal power” must apply. Seila Law, 591 U.S. at 215.

      D. In any case, ALJ’s multiple levels of removal protections violate
         Article II.

      Even if Congress could give ALJs some tenure protection, the current scheme

is too much. In addition to the removal protections that exceed the ones in Perkins

and Morrison, the President must obtain the consent of MSPB members and Com-

missioners. But both these bodies have for-cause protections. This triple-insulated

violates Free Enterprise Fund.

      Begin with the first layer. The Merit Board’s “baseline for evaluating good

cause in any action against an ALJ is whether the action improperly interferes with

the ALJ’s ability to function as an independent and impartial decision maker.” Dep’t

of Labor v. Avery, 120 M.S.P.R. 150, 153 (2013). So adjudicatory errors or failure to

follow adjudicatory instructions can rarely be “good cause” for discipline. See Abrams

v. SSA, 703 F.3d 538, 545 (Fed. Cir. 2012). And even when an ALJ engages in remov-

able misconduct, the Merits Board can insist on lesser sanctions than full removal.

See, e.g., SSA v. Brennan, 27 M.S.P.R. 242, 248–49, 251 (1985), aff’d, 787 F.2d 1559

(Fed. Cir. 1986); SSA v. Levinson, 2023 M.S.P.B. 20, ¶¶40–41 (July 12, 2023). Be-

cause the restrictions in Perkins and Morrison allowed for removal for insubordina-

tion, see Part B above, the stronger protections that ALJs’ enjoy necessarily trans-

gress “the outermost constitutional limits” for inferior officers. See Seila Law, 591

U.S. at 218 (quotation omitted).



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      The second and third layers stretch those limits even further. The President

cannot remove at will either the Commissioners who must seek an ALJ’s removal or

the Merit Board members who must approve such removal. 5 U.S.C. §1202(d); 15

U.S.C. §41; see also Seila Law, 591 U.S. at 231. This arrangement violates Free En-

terprise Fund. ALJs’ “[multiple] for-cause [removal] limitations” deprive the Presi-

dent of “the ability to oversee [ALJs] or to attribute [their] failings to those whom he

can oversee.” Free Enter. Fund, 561 U.S. at 492, 496. The scheme “not only protects

[ALJs] from removal except for good cause, but withdraws from the President any

decision on whether that good cause exists.” Id. at 495. “That decision is vested

instead in [the Commission and Merit Board],” and “if the President disagrees with

their determination, he is powerless to intervene—unless th[e] determination is so

unreasonable as to” itself constitute cause. Id. at 495–96. “The result is [ALJs who

are] not accountable to the President, and a President who is not responsible for

[ALJs].” Id. at 495. “[S]uch machinations blur the lines of accountability demanded

by the Appointments Clause.” Arthrex, 594 U.S. at 16.

      The Fifth Circuit agreed with this conclusion. That court held that (in the

context of the SEC’s ALJs) the “[t]wo layers of for-cause protection” ALJ’s enjoy are

unconstitutional. Jarkesy, 34 F.4th at 463. The SEC’s ALJs “can only be removed,”

the Fifth Circuit explained, “if good cause is found by the [Merit Board],” and “MSPB

members can only be removed by the President for cause,” which renders the ALJs

“sufficiently insulated from removal that the President cannot take care that the laws

are faithfully executed.” Id. at 464–65.




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      The Fifth Circuit is not alone: at least one other court has held that an agency

structured with doubly-insulated ALJs fails to pass constitutional muster. In Geor-

gia, a federal court found ALJs in the Department of Justice’s Office of the Chief

Administrative Hearing Officer were impermissibly doubly insulated because the

ALJs could only be removed for good cause as determined by the MSPB, which also

receives for cause protections. Walmart Inc. v. King, 2024 WL 1258223, *4 (S.D. Ga.

Mar. 25, 2024). The scheme should sound familiar. It was the same scheme Jarkesy

invalidated, and it is the same scheme at issue here.

II.   This Court should not recognize a new exception to Article II’s general
      rule of unrestricted removal.

      The Commission has maintained elsewhere that its ALJs’ removal protections

are constitutional. They argue ALJs are executive-branch “adjudicators,” distin-

guishing them from other executive officers. See Axon, 2020 WL 5406806, at *3–6;

see also Decker Coal Co. v. Pehringer, 8 F.4th 1123, 1133 (9th Cir. 2021). But Seila

Law says that the “general rule” is that the President has “unrestricted removal

power,” 591 U.S. at 215, and that the “two exceptions” it identified are the “outermost”

incursions on the general rule that the Supreme Court has recognized, id. at 218

(quotation omitted). If any court can recognize additional exceptions, it should be the

Supreme Court—not this one.

      But in any event, a novel “adjudicators exception” would be misguided. Even

if “the duties of [ALJs] partake of a Judiciary quality as well as Executive, [ALJs] are

still exercising executive power and must remain dependent upon the President.” Ar-

threx, 594 U.S. at 17 (quotation omitted) (addressing analogous Administrative



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Patent Judges). Indeed, adjudications by executive officers have occurred “since the

beginning of the Republic,” City of Arlington, 569 U.S. at 305 n.4, and it was common

for those officers to be subject to presidential removal, Harold J. Krent, Presidential

Control of Adjudication Within The Executive Branch, 65 Case W. Reserve L. Rev.

1083, 1089–91 (2015). This is unsurprising since they make executive policy through

their adjudications. See Sec’y of Educ. Review of ALJ Decisions 15 Op. O.L.C. at 14–

15. Today, executive adjudication “wields vast power and touches almost every aspect

of daily life.” Free Enter. Fund, 561 U.S. at 499; Jack Beermann, The Future of Ad-

ministrative Law Judge Selection, The Regulatory Review (Oct. 29, 2019) (available

at https://perma.cc/8PWN-4MWT). To prevent their exercise of executive authority

from “slip[ping] from the [Chief] Executive’s control,” the use of “removal as a tool of

supervision” cannot be further restricted beyond the recognized narrow exceptions.

Id.

      The purported adjudicator exception originates from a footnote in Free Enter-

prise Fund. See Axon, 2020 WL 5406806, at *3. But the footnote merely stated that

the Court’s holding did “not address” ALJs either way, 561 U.S. at 507 n.10, as part

of a broader disavowal of “general pronouncements on matters neither briefed nor

argued,” id. at 506. The Court then observed that ALJs’ status as “officers” was then

unsettled, in part because their powers are “adjudicative” and sometimes “recom-

mendatory.” Id. at 507 n.10. But the Court has since concluded that ALJs are offic-

ers, Lucia, 585 U.S. at 248–51, that executive adjudication exercises executive power

all the same, Seila Law, 591 U.S. at 216 n.2, and that “unrestricted removal” is the




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“general rule,” id. at 215. Those holdings reaffirm Myers: “even” when “executive

officers” have “quasi-judicial” duties, the President must be able to “consider a deci-

sion ... as a reason for removing [such an] officer,” or he cannot “discharge his own

constitutional duty of seeing that the laws be faithfully executed.” 272 U.S. at 135.

      The Commission also has claimed that it has constitutionally sufficient control

over its ALJs because it can exercise plenary review over their decisions and because

they have limited powers (as compared to PCAOB in Free Enterprise). See Axon, 2020

WL 5406806, at *4–5. Again, recent precedent forecloses this argument. Lucia held

that the features identified “make no difference” to ALJs’ status as inferior officers.

585 U.S. at 249–51. And Free Enterprise Fund held that “[b]road power over [an

inferior officer’s] functions is not equivalent to the power to remove” them. 561 U.S.

at 504. There, the SEC could “relieve the [PCAOB] of authority,” “amend Board sanc-

tions,” “issue binding regulations” for the Board, and “enforce Board rules on its own,”

but all that “power over Board activities” was no “substitute for authority over its

members.” Id. Article II’s “clear and effective chain of command” is not satisfied by

the ability of a principal officer to do (or redo) inferiors’ jobs for them. Id. at 498.

“Removal as both necessary and sufficient provides a judicially manageable rule and

avoids free-ranging functional inquiries about the extent of a separation of powers

violation.” Neomi Rao, Removal: Necessary and Sufficient for Presidential Control,

65 Ala. L. Rev. 1205, 1275 (2014).

      A recent district court decision in Missouri, however, erroneously adopted the

Commission’s arguments and created a new removal exception for the Commission’s




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ALJs. H&R Block Inc. v. Himes, 2024 WL 3742310, at *6 (W.D. Mo. Aug. 1, 2024).

That opinion made two analytical moves to reach its incorrect conclusion. For one

thing, the court identified three factual differences between PCAOB and the Com-

mission’s ALJs that persuaded it Free Enterprise Fund did not apply. First, while the

PCAOB was “empowered to take significant enforcement actions ... largely inde-

pendently of the” SEC, which did not have the “power to start, stop, or alter [those]

investigations,” 561 U.S. at 504, the Commission’s ALJs do not initiate proceedings,

hear only those proceedings the Commission designates, and issue decisions that the

Commission reviews de novo. H&R Block, 2024 WL 3742310, at *4. Second, unlike

the PCAOB, the Commission’s ALJs “have no regulatory authority.” Id. Third, ALJs

have existed since 1946, but PCAOB was a new body with “no historical analog.” Id.

      Next, the court concluded that Free Enterprise Fund did not apply to ALJs who

perform purely adjudicative or recommendatory functions that are subject to inde-

pendent review by the agency (as is the case here). Id. at *5. Because the Commis-

sion’s ALJs cannot initiate an enforcement proceeding and cannot choose to hear one

that the Commission does not assign to them, and because all their findings are re-

viewed by the Commissioners de novo, H&R Block concluded the officers possessed

only adjudicatory functions. Id. Similarly, that decisions concluded that any “admin-

istrative” power the Commission’s ALJs exercise is not substantial because Commis-

sioners have the final word on their decisions. Id.

      H&R Block’s reasoning is not persuasive. Most obviously, Seila Law forecloses

the attempt to cabin Free Enterprise Fund to its particular facts. Seila Law described




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Free Enterprise Fund’s holding broadly: “we declined to extend [removal] limits to ...

an official insulated by two layers of for-cause removal protection.” 591 U.S. at 215.

And Seila Law did not even mention PCAOB design elements that H&R Block con-

cludes limit Free Enterprise Fund’s broader applicability. While discussing Free En-

terprise Fund, by contrast, Seila Law underscores the factual context that limits Mor-

rison and Humphrey’s Executor. See id. at 215–18.

      As to the second move, Seila Law said Free Enterprise Fund involved a statu-

tory scheme that “effectively” “eliminate[d] the President’s removal power alto-

gether.” Id. at 228. So too with the Commission’s ALJs. The President is likewise

“powerless” to reconsider the Commission’s decision not to remove an ALJ, or the

Merit Board’s determination that good cause for removal is lacking, “unless th[ose]

determination[s] [are] so unreasonable as to constitute ‘inefficiency, neglect of duty,

or malfeasance in office.”’ Free Enter. Fund, 561 U.S. at 496.

      And all of this analysis neglects that Morrison and Perkins set “the outermost

constitutional limits” for inferior officers that that the Supreme Court has recognized,

see Seila Law, 591 U.S. at 218 (quotation omitted). And H&R Block did not grapple

with the fact that the Commission’s ALJs enjoy a third layer of removal protection

not present in Free Enterprise. Here, not only must the independent Commission

choose to remove an ALJ, but the Merit System Protection Board—itself an executive

agency—must also find good cause for the removal. When one tenure-protected ex-

ecutive agency blocks another executive agency from removing an inferior officer—

leaving the President “powerless to intervene”—that “diffusion of power” within the




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Executive Branch “carries with it a diffusion of accountability” that Article II forbids.

Free Enter. Fund, 561 U.S. at 495–97.

      Finally, H&R Block was wrong to conclude that the Commission’s ALJs lack

significant policymaking or administrative authority. Lucia held that ALJs are offic-

ers because they exercise “significant authority” within executive agencies. 585 U.S.

at 246 (quotations omitted). The Commission’s ALJs are not different in any relevant

sense from the SEC’s. As with the SEC’s ALJs, the Commission’s ALJs “take testi-

mony,” “conduct trials,” “administer oaths, rule on motions, and generally ‘regulat[e]

the course of’ a hearing, as well as the conduct of parties and counsel.” Id. at 248

(SEC ALJs); see 16 C.F.R. §3.42(c) (empowering the Commission’s ALJs to, among

other things, “receive evidence,” “conduct … hearings,” “administer oaths,” “rule upon

… motions,” and “regulate the course of the hearings and the conduct of the parties

and their counsel”). Both are empowered to “make and file” presumptive decisions,

which may then be appealed to the respective full Commission.            See 16 C.F.R.

§3.42(c)(9) (FTC); 17 C.F.R. §201.360(a)(1) (SEC). And both have all powers “neces-

sary” to address the proceedings over which they preside. 16 C.F.R. §3.42(c) (FTC);

17 C.F.R. §§201.111, 200.14(a) (SEC). There is thus no apparent constitutional dif-

ference between the SEC’s ALJs and the Commission’s.




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                                  CONCLUSION

      This Court should hold that the Commission’s adjudication of its claim against

Kroger by its ALJs is likely unconstitutional.

                                            Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on September 23, 2024 a copy of the foregoing pleading

was filed electronically. Notice of this filing will be sent to all parties for whom coun-

sel has entered an appearance by operation of the Court’s electronic filing system.

                                      /s/ T. Elliot Gaiser
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